

People v Quick (2021 NY Slip Op 07486)





People v Quick


2021 NY Slip Op 07486


Decided on December 23, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 23, 2021

PRESENT: PERADOTTO, J.P., CARNI, LINDLEY, CURRAN, AND BANNISTER, JJ. (Filed Dec. 23, 2021.) 


MOTION NO. (358/20) KA 15-00980.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vJAMES E. QUICK, JR., DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








